Case 5:20-cv-00435-JSM-PRL   Document 17-1   Filed 12/11/20   Page 1 of 5 PageID 53




                               EXHIBIT A
Case 5:20-cv-00435-JSM-PRL   Document 17-1   Filed 12/11/20   Page 2 of 5 PageID 54
Case 5:20-cv-00435-JSM-PRL   Document 17-1   Filed 12/11/20   Page 3 of 5 PageID 55
Case 5:20-cv-00435-JSM-PRL   Document 17-1   Filed 12/11/20   Page 4 of 5 PageID 56
Case 5:20-cv-00435-JSM-PRL   Document 17-1   Filed 12/11/20   Page 5 of 5 PageID 57
